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UNITED STATES DISTRICT COURT -~--...-F29 a ENTERED

DISTRICT OF MARYLAND ~ ro
GREENBELT DIVISION -
AUG @ 9 2024
BRETT C. KIMBERLIN, a
Plaintiff, sot OS iS Cour
: -. DEPUTY
¥ No. {9a CACV2323

UNITED STATES DEPARTMENT OF JUSTICE,
ATTORNEY GENERAL MERRICK GARLAND,
UNITED STATES ATTORNEYS OFFICE FOR THE DISTRICT OF MARYLAND,
EREK BARRON,
UNITED STATES PAROLE COMMISSION,
LYNN BATTAGLIA,
TAMERA FINE,
RENATA RAMSBURG,
Defendants.

COMPLAINT FOR DAMAGES AND DECLARATORY RELIEF FOR VIOLATION
OF CONSTITUTIONAL AND PROCEDURAL RIGHTS

Plaintiff Brett Kimberlin complains of Defendants United States Department of
Justice, Attorney General Merrick Garland, United States Attorneys Office for the
District of Maryland, Erek Barron, United States Parole Commission, Lynn
Battagha, Tamera Fine, and Renata Ramsburg for violations of Plaintiffs
constitutional rights including to due process, equal protection, and freedom from
cruel and unusual punishment. The Defendants engaged in a conspiracy to deprive
Plaintiff of his due process rights and right to liberty, to subject him to cruel and
unusual punishment and sexual assault, to coverup their misconduct, and to deprive
him of his right to redress, with overt acts beginning in November 1996 and
continuing to May 2024. This has been a continuing conspiracy that has covered 27

and a half years. This Complaint is brought to hold the defendants accountable for
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corrupting justice, to deter future misconduct, to publicly expose their corruption, and
to compensate Plaintiff for the monstrous and lawless wrongs committed against him
by the Defendants.
Narrative Of Relevant Facts

1. Political operatives used an administrative agency of the Executive Branch --
the Parole Commission -- to harass, audit and imprison Plaintiff simply because he
exercised his First Amendment right to speech and political activity. Then, other
Department of Justice officials lied to the federal courts in order to revoke his parole
and cover up that misconduct. At no point during this conspiracy did a single official
in a position of power take any action to stop or rectify the misconduct even though
they were aware of it. Instead, key participants in this conspiracy, including Lynn
Battaglia and Tamera Fine, used their misconduct as a stepping stone to enhance

their careers.

Background

2. Plaintiff was convicted in federal court for a 1978 intentional tort against Carl
and Sandra Delong. The trial was very controversial because Plaintiff had alibis, six
witnesses were hypnotized by the prosecution, and no evidence connecting him to the
crimes was discovered at his homes. His first trial ended in a hung jury, nine to three
for acquittal. Two years later, the Delongs sued him in Indiana state court for the
injuries sustained therefrom. In March 1983, shortly before the trial was to begin,

Carl Delong committed suicide after his wife filed for divorce.
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3. In late summer 1983, the judge assigned to the civil case, Michael Dugan,
approached Plaintiffs trial attorney, Nile Stanton, in an Indianapolis bar and
solicited a $10,000 bribe from him to rule in Plaintiff's favor. In short, after the bribe
was rebuffed, the judge allowed Mrs. Delong to add a wrongful death court on the day
of the scheduled trial, and then summarily ruled against Plaintiff on all issues based
solely on Plaintiffs wrongful conviction without even allowing him to attend the
proceedings. Damages were awarded in the amount of 1.6 million dollars again
without allowing him to appear, and the judge even refused to allow Plaintiff to

appeal the judgment.

4. Plaintiff and his attorney reported the bribe to the United States Attorney's
Office and cooperated with AUSA Larry Mackey, who was conducting a grand jury
investigation into the judge's corrupt practices. In August 1988, Judge Dugan was
indicted on 29 federal charges including racketeering, extortion, bribery, mail fraud,
and tax evasion. He was found guilty by a jury and a sentencing report included
mention of the bribe solicitation in Plaintiff's case. At sentencing, Plaintiff submitted
a victim's statement, and the AUSA labeled Judge Dugan "the most prolifically
corrupt judge in the entire Seventh Circuit." Judge Sarah Barker, when sentencing
the judge, said that he had put a "For Sale" sign on his courtroom door and "called
into question every decision he ever rendered." When Judge Dugan was first
reviewed for parole in 1995, the Parole Commission asked Plaintiff to submit a
victim's statement, and the Commission denied parole in part because the judge

refused to admit to any crimes other than those for which he was convicted.
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5. In July 1988, Plaintiff was reviewed by the Parole Commission and placed in
the most severe offense category because of the "wrongful death” civil judgment. On
administrative appeal of that finding, the Commission abandoned reliance on the
wrongful death after learning of the corrupt judgment. The Commission eventually

ordered that Plaintiff be released on parole on February 14, 1994.

6. Between 1988 and 1994, there was a great deal of media and political interest
in Plaintiff, which eventually resulted in a book contract. In April 1993, while still in
prison, Knopf Books signed a contract with author Mark Singer and BKE Inc. for a
story about the life of Plaintiff. Under the contract, the book was supposed to be
completed within 18 months with separate advance payments at different stages of
the book writing. When Plaintiff was released from prison a year later, however, the

writing had not even begun.

7. When Plaintiff was released from prison, the Parole Commission imposed
many conditions of parole, none of which required that he pay the corrupt, Indiana
civil judgment. The Commission approved him working on the book for the next three
years. In July 1994, Mrs. Delong attempted to attach the proceeds of one of Plaintiff's
civil suits but the federal judge, after learning of the corrupt judgment, refused the

attachment. A few years earlier, another federal judge made a similar ruling.

8. When Plaintiff's parole officer, Thomas Koehler learned of the attempted

attachment in the first suit above, he wrote to the Parole Commission and asked if
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he could require Plaintiff to pay the civil judgment as a condition of his parole. The
Commission responded that "civil judgments are not covered by parole condition 13."
Mr. Koehler then informed Plaintiff that he did not have to pay the judgment.
Plaintiff also provided a letter to Mr. Koehler from his lawyer in Indiana which stated

that the statute of limitations had run on the corrupt civil judgment.

9. After Judge Dugan was convicted, David Hamilton, now a federal judge in the
Seventh Circuit, sought and received permission to file a belated appeal of the corrupt
judgment but he could not raise the corruption issue on direct appeal. The Indiana
Court of Appeals reversed but the Indiana Supreme Court, sua sponte, reinstated the

judgment in early 1994. Plaintiff informed his parole officer about the decision.

10. Plaintiff became a model parolee and a successful businessman. He worked on
the book, a music project, and started a new business in international trade with
Ukraine. He traveled extensively, both domestically and abroad, and regularly dealt
with top political and business leaders. He bought a home and got married to a
Ukrainian. This success resulted in his parole supervision being reduced to "minimal"

and several favorable press reports.

11.In May 1996, when applying for his home mortgage, Plaintiff told the mortgage
company about the 14-year-old judgment from Indiana. The Vice President of the

company advised Plaintiff that such an old judgment could not be used to deny a loan
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and should not be put on the mortgage application. Plaintiff's parole officer approved

the purchase of the home, and Plaintiff and his wife moved there in July 1996.

The Secret Political Pressure

12.The favorable press reports and the book publication caught the interest of
James Wilson, a former DOJ attorney under Bob Barr, who made no secret of his
dislike for President Clinton and his supporters. On September 26, 1996, during the
presidential election campaign, Wilson wrote an editorial in the Washington Times
entitled, "The Bomber who Helped Elect Bill Clinton," which argued, inaccurately,
that Plaintiff's book deal, success, and international travel were facilitated by
President Clinton as a payoff for Plaintiff's help in electing the president. Wilson

hoped to create a scandal during the campaign to help defeat the President.

13.Within days after the publication of the above editorial, someone contacted
Oliver North, who then appeared on Larry King Live to proclaim falsely that
President Clinton had "pardoned" Plaintiff. A few days later, North telephoned
Plaintiff and asked that he appear with James Wilson on North's syndicated radio
program to discuss the alleged connections with President Clinton. Although Plaintiff
declined the offer, he did listen to and tape-record the program. James Wilson stated
that his friends in Congress were investigating Plaintiff's favorable treatment by the

Parole Commission.

14.Less than a week later, Plaintiff's parole officer, Marrell Hardin, (who had

bragged that he wished all of his parolees were as good as Plaintiff) telephoned
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Plaintiff to tell him that, because of "calls from Congress," his minimal supervision
was being increased to maximum and he was being assigned to a "special offender"

parole officer.

15. At about the same time, Mike Hubbard, the Chief Investigator for the Senate
Judiciary Committee and the "eyes and ears of Senator Orrin Hatch," called the
Parole Commission to inquire about Plaintiff's parole supervision, international
travel, and non-payment of the corrupt civil judgment. The General Counsel of the
Parole Commission, Michael Stover, returned the call and told Hubbard that the
Commission did not have jurisdiction over state civil cases. Sometime later, Hubbard
demanded that the Commission send "draft legislation" to the Senate to amend the

parole statute to require Plaintiff to pay the civil judgment.

16.Upon further review, the General Counsel decided that such new legislation
directed only at Plaintiff would constitute "a bill of attainder and violate the ex post
facto clause." However, he decided that the Commission could require payment
through a new special condition of parole under the general parole condition statute,
18 U.S.C. § 4209. Stover called Hubbard and advised him that the Commission would
conduct a complete legal and financial audit of Plaintiff, and impose a new special
condition of parole requiring him to pay the civil judgment which it would enforce
with a "summons or warrant." This order was given by the then-chairman of the
Commission, Edward Reilly, a former Republican Kansas state senator who was

sponsored by Bob Dole and appointed to the Commission by George Bush. He sua
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sponte assigned himself to Plaintiffs case. Stover again called Hubbard to advise him

of the Commission's decision.

The Book Publication and Withholding of Payment

17.In October 1996, Plaintiff learned that the hardback book would be published
on November 7th and that it would include some unfavorable information about him
and others. On the advice of his entertainment attorney, Geoff Menin, Plaintiff and
ten others who had cooperated with the author filed claims against Knopf Books for
false light and breach of contract. Knopf, in turn, as allowed by the contract, withheld

payment of the hardback advance.

The Audit and New Special Condition

18.Defendant Renata Ramsburg was assigned as the special offender parole
officer and she immediately began a terrifying audit of Plaintiff which included not
only his own personal finances but also the finances of his Ukraine business, his
sister's business, and even his mother's financial affairs. Ramsburg called Plaintiff at
all hours and demanded documents within days, which caused strong objections from
Plaintiffs partners and family. Ramsburg demanded to know about all of his
international trips (which had been approved by other parole officers), and she
refused to approve any other trips abroad. Ramsburg even demanded to know the
immigration status of Plaintiff's wife, and she implied that his wife could be deported

if he did not cooperate.
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19. After three months of this harassment and abusive tactics, Ramsburg wrote to
the Commission that Plaintiff was expecting payment of the book proceeds in the
amount of $225,000. In fact, however, the only money due was $112,500 for the
hardback publication. On February 10, 1997, the Commission, believing that the book
proceeds were to be paid any day, issued an ex parte administrative decree ordering
Plaintiff to give all of the remaining book money to Sandra Delong within 24 hours
or go to jail. It justified that order with the inaccurate statement that Plaintiff had
refused to pay the judgment when, in fact, his lawyer told him it was stale and his

parole officer had told him that he did not have to pay it.

Plaintiff's Objections and the Parole Revocation Charges

20. Plaintiff immediately objected to the order on many grounds including that 1)
the money belonged to a corporation which had other obligations, 2) Knopf still
possessed the money and would not release it until all the claims were settled, 3) it
would deprive Plaintiff of his salary, rental income, and business expenses, 4) the
judgment was stale and corrupt, 5) his prior parole officer had told him that he did
not have to pay it, 6), the civil judgment was issued by a corrupt judge and was based
on a wrongful conviction, and 7) he was entitled to due process in the enforcement
process. The Commission rejected all of these objections and the parole officer
continued her audit. She demanded to know if Plaintiff had told the mortgage

company in 1996 that he had an outstanding civil judgment.
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21.When Plaintiff did not pay the book proceeds by March 13, 1997, Ramsburg
initiated two parole revocation charges against him -- 1) mortgage fraud for not
telling the mortgage company about the judgment, and 2) failing to pay the book
proceeds when demanded by the Commission. She also confiscated his passport "until

he paid the money."

The Parole Revocation Hearings

22. Prior to the preliminary revocation hearing, Plaintiff, as allowed by 18 U.S.C.
§ 4214 (2)(B), requested the appointment of counsel to assist him due to his inability
to retain his own attorney. He again requested counsel and filled out the proper
forms. The hearing examiner, Cathy Kirby, called Mr. Stover at the Commission to
ask what to do about the counsel issue but Stover told her to deny counsel and hold

the hearing.

23. Examiner Kirby told Plaintiff that the hearing was a "wake-up call" to pressure
him into releasing the book money to Mrs. Delong and, if he did so, the parole charges
would be dropped. At the end of the hearing, she said that she was finding "no
probable cause" on Charge 2 (failure to pay), but finding probable cause on Charge 1
(mortgage fraud). A week later, however, the Commission found probable cause on
both charges but said that it would drop them if Plaintiff paid the book money within
30 days and released all the third-party claims against Knopf. Knopf refused to

release any of the book money without a settlement of all the claims including the

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Commission's claim, and the 11 claimants refused to release their claims unless they

were compensated.

24.A few weeks before the final parole revocation hearing, Plaintiff again
requested the appointment of counsel from the District Court. However, the
Commission, through Defendant Fine, falsely told the court that Plaintiff had not
requested counsel or filled out the CJA forms. At the final revocation hearing,
Plaintiff again requested the assistance of counsel, but was again denied after the
examiner, Raymond Essex, called Mr. Stover at the Commission and was told to deny

the assistance of counsel.

25.After determining that the book money was not paid to Mrs. Delong and
berating Plaintiff for usurping the Commission's jurisdiction by filing for bankruptcy,
Essex found Plaintiff guilty of both charges and ordered him imprisoned for 24
months. However, he said that he would reduce the sentence if Plaintiff compensated
Mrs. Delong. The Commission then ordered Plaintiff to cooperate with the

bankruptcy trustee and to compensate Delong before being paroled.

Plaintiff's Sister’s Letters to Senator Hatch

26.On September 10, 1998, Plaintiffs sister wrote a letter to Senator Hatch
demanding that he take action against those responsible for the improper and illegal
conduct to pressure the Parole Commission to target Plaintiff. On January 14, 1999,

she received a call from Michael Kennedy, Counsel for the Senate Judiciary

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Committee, who told her that the initial calls to the Commission from Mike Hubbard
were unauthorized and improper. He told her in subsequent conversations that
Senator Hatch was troubled by the actions of his "former" staffer and would be taking

formal action in the matter in the near future.

The Bankruptcy Case

27. Plaintiff listed the Knopf funds on his bankruptcy schedules. In July 1997, the
Bankruptcy Court ruled against the Commission's motion to dismiss, holding that
the case was filed in good faith and was not a collusive ploy. Defendant Fine issued a
letter written in August 1997 to transfer Plaintiff from prison to the federal
courthouse in Greenbelt, Maryland for a creditors meeting under 11 U.S.C. § 341.
Plaintiff had requested that the meeting be conducted by telephone because none of
the creditors planned to appear. When he arrived at the meeting, Defendant Fine
began a long and threatening interrogation of Plaintiff which far exceeded the scope
of any creditors meeting. Finally, because 11 U.S.C. § 348 does not allow questioning
by anyone but the trustee and the creditors, the trustee interrupted the Defendant
Fine and told her that she did not have the authority to ask questions. Defendant
Fine’s interrogation clearly violated the statute and Plaintiffs Fifth Amendment

rights.

28.At the meeting, Plaintiff presented a settlement offer from Mrs. Delong for a
$60,000 cash payment to settle her claim against Knopf and in bankruptcy. To

accomplish this, Plaintiff's family agreed to co-sign a second mortgage on his home as

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long as Plaintiff could work to pay off the loan. Defendant Fine, however, falsely told
the Commission that no settlement existed and therefore the Commission refused to
release Plaintiff to accomplish the settlement. Had the Commission agreed to the
settlement, the bankruptcy case could have been quickly settled with Knopf and all

of his creditors.

29.In October 1997, Plaintiff's entertainment attorney persuaded Knopf to pay
the $60,000 as part of a Chapter 11 reorganization plan, and all other parties agreed.
In the first of two court-approved settlements, the parties agreed that once Delong
received her money, no special condition of parole would remain that Plaintiff pay the
judgment outside of bankruptcy and that he would retain all of his civil defenses
under state law. Knopf, however, refused to release the funds until a second
settlement with all the claimants was also approved by the Bankruptcy Court. That
settlement was approved on May 14, 1998, and the trustee received a $106,000 check

from Knopf on June 16, 1998, to fund the Chapter 11 plan.

30.On that same day, the Parole Commission held a hearing and the examiner
told Plaintiff that he could be released six months early after the trustee submitted
a letter that Plaintiff cooperated in the bankruptcy case. On July 1, 1998, the
Commission issued a new order memorializing that decision which also included a

special condition that he continue to pay the Delong judgment as a condition of parole.

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31.Defendant Fine then objected to Plaintiff's reorganization plan because it did
not include future payments to Delong. Plaintiff was required to modify his plan to
appease her. The trustee and the other two attorneys involved in the case wrote
letters to the Commission regarding Plaintiff's cooperation and good faith. However,

the Commission refused to reduce his sentence as promised.

32.The Bankruptcy Judge, on June 26, 1998, held a hearing and asked Defendant
Fine to "un-revoke" Plaintiff's parole because he had complied with all of the
Commission's demands. She refused. At another hearing on August 19, 1998, the
Court blasted Defendant Fine for the Commission's "moving targets," capricious
actions, and order depriving Plaintiff of self-employment. However, the Court, on
December 15, 1998, reluctantly approved the plan with all the Commission's

objections.

Defendant Fine’s Revenge

33.In the fall of 1997, Defendant Fine filed a brief with the Fourth Circuit Court
of Appeals which falsely stated that Plaintiff "never" submitted a CJA form
requesting the appointment of counsel in his revocation proceeding. Plaintiff then
filed for sanctions against her with the Court, OPR, and Maryland State Bar
Disciplinary Committee. Defendant Fine responded by sending two U.S. Marshals to
the federal correctional institution to interrogate and intimidate Plaintiff for filing

those complaints. She also filed a perjurious declaration from parole examiner Cathy

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Kirby stating that Plaintiff had not submitted the CJA form and she had not found

any probable cause on Charge 2.

34. At a hearing on November 4, 1998, Defendant Fine brought Plaintiff's mother
to tears with her vindictive comment that Plaintiff might never be paroled. In the
hallway, the Defendant Fine purposely told Plaintiffs mother that he might serve 30

more years in prison.

35.On December 3, 1998, Defendant Fine falsely told the Commission that
Plaintiff had acted in bad faith in the bankruptcy case by not accounting for all of his
past income and concealing $225,000 in net income from the trustee. Based on that
false information and a letter from Defendant Battaglia, the Commission issued an
order for a "reconsideration" hearing and informed the Bureau of Prisons to cancel
Plaintiff's release to the halfway house scheduled for December 28, 1998. The letter,
written by Defendant Fine and signed by Defendant Battaglia, included a three-inch
stack of pleadings he had filed in various proceedings. In short, it accused Plaintiff of
bad faith in the bankruptcy case and Fourth Circuit because he filed pleadings
challenging the Commission's actions and Defendant Fine’s misconduct. The report
repeated falsehoods that 1) no $60,000 settlement was offered at the creditor's
meeting, 2) the bankruptcy case was a collusive ploy, 3) Plaintiff never filed a CJA
form requesting counsel, and 4) Plaintiff lied to the trustee about the amount of

available Knopf funds.

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36. Upon receiving the report, Plaintiff wrote to Defendant Battaglia and asked
her to withdraw the report because it was inaccurate. Also, his entertainment
attorney wrote to the Commission and contested the report. Defendant Fine, however,
responded, just days before the reconsideration hearing, with a "confidential
declaration" to the Commission in which she, under oath, falsely accused Plaintiff of
bankruptcy fraud by withholding information from the trustee about the amount of

money due from the Knopf contract.

37. Plaintiff immediately contacted the trustee and entertainment attorneys, who
agreed to fax the Commission documents showing that Plaintiff had fully disclosed
everything to the trustee who approved all payments under the two court-approved
settlements. At the reconsideration hearing, the examiner, Mrs. Pinner, after
reviewing the faxed documents, found that Plaintiff did not withhold any information
from the trustee about the Knopf funds, but she berated Plaintiff for filing for
sanctions against Defendant Fine. (All the parole hearings were tape recorded). Then,
rather than issue a decision at the end of the hearing as required by parole
regulations, the examiner stated that she wanted to confirm the information with the
trustee the following day, and would then render a decision. However, she never
contacted the trustee. The Bureau of Prisons, believing that Plaintiff's release was

imminent, again scheduled his release to the halfway house for February 26, 1999.

38.After 21 days, the Parole Commission issued a new decision finding that

Plaintiff committed "bankruptcy fraud.” The Commission imposed an additional 24-

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month sentence for that "crime." The decision was based on an ex parte conversation
between Defendant Fine and Parole Commission General Counsel Stover in which
Fine said that the trustee did not have the authority to enter into the two settlements
because the Knopf claimants, whom she labeled as "creditors," should not have gotten
"preferential" treatment. The Bureau of Prisons immediately canceled Plaintiff's

release to the halfway house.

39.Upon learning of the Commission's decision, both the trustee and the
entertainment attorney informed the Commission that Plaintiff did not commit any
fraud, that the trustee had the authority to approve the settlements, and that the

Bankruptcy Judge properly approved the settlements and the Chapter 11 plan.

The Mortgage Fraud Charge

40.The Commission used the mortgage fraud charges as a pretext to pressure
Plaintiff into paying the judgment even though it was corrupt, predicated on a
wrongful conviction, and past the Maryland 12-year statute of limitations. Even after
the Commission was informed by the Vice President of the mortgage company that
Plaintiff told him about the judgment and he told Plaintiff not to list it on the
mortgage application because it was not listed on any credit reports, the Commission
found that Plaintiff committed the new "crime" of mortgage fraud. It was that
criminal conduct that resulted in the initial 24-month revocation sentence against

Plaintiff.

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41.Finally, Plaintiff sent the mortgage company Vice President all of the
Commission's findings on the mortgage fraud charge, and, on April 5, 1999, he wrote
to the Commission asking that it reopen the fraud finding because everything it relied
on was "inaccurate," and that the parole officer, Defendant Ramsburg, had provided

false information to the Commission.

42. Despite all of the foregoing misconduct, Plaintiff was imprisoned for four years
based on crimes that never occurred, using Plaintiffs wrongful conviction and a
corrupt civil judgment as the basis for the parole revocation. Despite being a perfect
parolee for years, Plaintiff was forced to serve the parole revocation at the medium
security prison at Petersburg, Virginia. While there, he was subjected by prison staff
to repeated unwanted, nonconsensual strip searches, which included demeaning and
humiliating fondling by prison guards, rectal digital insertions, and being left naked
for extended periods of time. He was placed naked in “dry cells” in order to secure
urine for drug tests, but this was a pretext to sexually assault and humiliate him.
Plaintiff suffered from bashful bladder from earlier childhood sexual assaults which
were documented in his prison file making it easy for perverse guards to force him to
strip naked and sexually assault him. On one occasion, he was forcibly removed from
his cell and taken to solitary confinement where he was threatened by prison guards
and the prison investigator to falsely implicate his unit manager in the sexual abuse
of Plaintiff or never get out of prison alive. Plaintiff refused and was left naked in the

solitary cell while prison guards leered at and taunted him. Plaintiff had no recourse

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and feared retaliation if he objected to the perverse conduct. Plaintiff suppressed his
emotions out of fear and as a matter of survival. All of this sexual abuse left Plaintiff
emotionally distressed and he still suffers PTSD from the memories.

43.The 2005 OIG report on Sexual Abuse of Federal Inmates documented
hundreds of cases where prison employees sexually assaulted federal inmates,
including during the time Plaintiff was imprisoned.

https://oig.justice.gov/sites/default/files/archive/special/0504/index.htm Federal and

state laws allow civil rights suits to compensate a victim of sexual abuse.

44. Indiana civil code 34-11-2-12 states:. “Every judgment and decree of any court
of record of the United States, of Indiana, or of any other state shall be considered
satisfied after the expiration of twenty (20) years.” In Plaintiff's case, the Indiana
civil court issued an order of “satisfaction” after 20 years but the Defendant Parole
Commission continued to force Plaintiff to pay that judgment after he was released

on parole under threat of revocation if he did not.

45. The actions of the Defendants amounted to psychological torture of Plaintiff by
accusing him of crimes that never occurred, and the Defendant Parole Commission
at the behest of Defendant Fine repeatedly moved the goal post whenever Plaintiff
complied. Defendant Fine grossly abused her authority, overstepped her bounds, and
completely lost her objectivity causing her to personally retaliate and punish
Plaintiff. She repeatedly lied to the Courts and the Parole Commission, and she
continually interfered with the Court approved Chapter 11 bankruptcy proceeding.

Yet she was never held accountable by anyone in the Department of Justice but

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instead was allowed to keep her job and receive promotions. Defendant Battaglia
who enabled Defendant Fine’s misconduct and wrote the letter to the Parole
Commission making false statements about a nonexistent bankruptcy fraud,
parlayed her misconduct into an appointment as a Maryland State Judge without

disclosing that she had railroaded Plaintiff with her lies.

46. Plaintiff has written numerous letters to the Department of Justice, Defendant
Garland, the Inspector General, the Office of Professional Responsibility, Defendant
Erek Barron, and Defendant Battaglia seeking redress for the gross abuses set forth
in this Complaint and Plaintiffs wrongful conviction. He even requested a personal
meeting with Defendant Barron but received no response. In fact, he has not received
a single response on the merits from any official to any letter he has written about

any of the Defendants.

47.The actions of the Defendants to imprison Plaintiff and destroy his life were
based on factors other than bogus mortgage fraud and bankruptcy fraud charges.
Indeed, these were merely trumped-up charges used to punish him for exercising his
First Amendment rights to speech and redress. They were initiated at the behest of
political opponents of Plaintiff and a Democratic president in retaliation for Plaintiff's
speech and political activity. Clearly, it was only because of Plaintiff's parole status
and the improper pressure from Republican political operatives that this nightmare
was able to be perpetrated against Plaintiff and his family. Plaintiff did nothing but

simply participate in the writing of a book. However, he lost his liberty, job, business,

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reputation, credit, home, car, music contract and happiness. He missed his sister's
wedding, his mother's hospitalization, and his wife was stranded in Ukraine. The
Knopf claimants were forced to settle their legal claims for much less than expected

because of the Commission's use of Plaintiff's liberty as extortionate leverage.

48.The Defendants knew that Plaintiffs conviction was wrongful and that the
corrupt civil judgment was wrongful and issued by a corrupt judge who was biased
against Plaintiff for not paying him the bribe he demanded. Yet, the Defendants used
the wrongful criminal judgment and the wrongful and corrupt civil judgment to
imprison Plaintiff for four years out of retaliation, spite, and outrage that he would

not falsely confess to a crime he did not commit.

49.The Defendants have conspired to coverup their wrongdoing up until the date
of the filing of this Complaint, and have refused to respond to any of his many letters
seeking redress or to meet with Plaintiff to resolve this issues herein. This coverup is

part of an ongoing and unbroken 27-year conspiracy to violate Plaintiffs rights.

50.In these many letters to several of the Defendants, Plaintiff has set forth the
2019 confession by Indiana State Police Detective Brooke Appleby to Pulitzer Prize
winning journalist Dan Luzadder that he corrupted Plaintiffs criminal trial to such
a degree that it was wrongful, unfair, and unconstitutional In addition to the
confession of Detective Brooke Appleby, journalist Luzadder has interviewed other
officials in Indiana who confirmed that Plaintiff was wrongfully convicted. This

information is so powerful that a Hollywood film director, Mike James, has joined

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forces with Mr. Luzadder and an Emmy-winning Austin-based film company to create
a ten-part cable TV series about Plaintiffs wrongful conviction and the corruption of
DOJ officials, including those involved in Plaintiffs wrongful parole revocation. The
series will focus in part on the corruption of the Indianapolis FBI field office which
was under DOJ and Congressional investigation at the time of Plaintiffs arrest by
the FBI. That field office was considered “the most corrupt” field office in the country,
a title it continues to hold to this day as found by the Office of Inspector General’s
recent report on how it corruptly handled the Larry Nassar Olympic gymnasts’ case.

https://oig.justice.gov/news/do]-oig-releases-report-investigation-and-review-fbis-

handling-allegations-sexual-abuse-former The cable series will also focus on how

DOJ officials engaged in corruption and then covered up the corruption in Plaintiffs
case and how DOJ officials, including the Defendants involved with Plaintiffs parole
revocation, retaliated against Plaintiff and refused to respond to Plaintiffs
protestations of innocence but instead abused the justice system by trying to coerce
him into making a false confession and, when he maintained his innocence, brutally

punished him with a wrongful parole revocation.

Claims
51. For the following claims, Plaintiff adopts the information set forth in

paragraphs 1-50 above.

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Count I
VIOLATION OF FIRST AMENDMENT RIGHTS
52.Defendants Tamera Fine, Lynn Battaglia, Renata Ramsburg, Parole
Commission, Department of Justice, Merrick Garland, Erek Barron, and United
States Attorneys Office violated Plaintiffs First Amendment rights to speech,
political activity, and redress by retaliating against him for the exercise of those

rights.

Count II
VIOLATION OF DUE PROCESS RIGHTS

53.The Defendants named in paragraph 47 above violated Plaintiffs due process
rights by falsely accusing him of crimes, lying about those crimes to effectuate a
wrongful parole violation, and refusing to correct their lies and misconduct at any
time. Defendants Tamera Fine and Lynn Battaglia violated Plaintiffs due process
rights by intentionally interfering with Plaintiffs bankruptcy and parole proceedings

while using the parole proceedings to intimidate and retaliate against Plaintiff.

Count ITI
VIOLATION OF CRUEL AND UNUSUAL PUNISHMENT

54.The Defendants named in paragraph 47 above subjected Plaintiff to extended
and pervasive cruel and unusual punishment by tormenting him with false
allegations of crimes, repeatedly changing the goal posts, using extortionate tactics
and unfulfilled promises, and placing him in an unsafe prison environment where he

was subjected to repeated strip searches, unwarranted confinements in solitary and

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dry cells, unwanted and nonconsensual fondling, digital penetrations, and sexual
assault, left naked for extended periods, and threatened to falsely accuse his Unit

Manager of sexual assaults against Plaintiff or never get out of prison alive.

Count IV
CONSPIRACY TO VIOLATE CONSTITUTIONAL RIGHTS

55.The Defendants named in paragraph 47 above conspired with one another to
violate Plaintiffs right to due process, speech, political activity, and redress, and to
subject him to draconian cruel and unusual punishment as outlined in Counts I-III

above, and coverup their misconduct over a period of 27 years.

Count V
FAILURE TO ACT, INTERVENE, AND PREVENT, AND CONSPIRACY TO
COVERUP
56.The Defendants named in paragraph 47 above in conspiracy with one another
failed to act to protect Plaintiff from lawlessness and misconduct, and to prevent that
lawlessness, and failed to intervene when they became aware of the lawlessness, as
alleged above and in Counts I-III, above, and covered up their misconduct both
directly and through a 27 year conspiracy.
Count VI
DENIAL OF DUE PROCESS BY THE CONTINUED COVERUP OF OFFICIAL
MISCONDUCT
57.The Defendants named in paragraph 47 above denied Plaintiff due process by

engaging in a decades long coverup of their wrongdoing, refusing to respond to any of

Plaintiffs complaints, and failing to hold anyone accountable for the misconduct. The

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Defendants’ actions were objectively unreasonable and were undertaken
intentionally, with malice, and with reckless disregard for Plaintiff's due process

rights.

Count VII
SEXUAL ASSAULT AND ABUSE UNDER FEDERAL AND STATE LAW

58.. The Defendants named in paragraph 47 intentionally revoked Plaintiffs
parole on trumped up charges and conspired to have him transferred to an unsafe
prison where they knew he would likely be subjected to sexual abuse and he was.
This caused him severe psychological trauma and PTSD which is actionable under
both federal and state law.

Remedy

Plaintiff seeks a declaratory judgment against the Defendants finding that they
violated Plaintiffs rights as alleged in Counts I-VII. Plaintiff seeks $12,000,000 in
compensatory damages from Defendants and punitive damages in an amount
determined by a jury.

Jury Demand
Plaintiff demands a trial by jury pursuant to Federal Rule of Civil Procedure 38(b)

on all issues so triable.

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Bethesda, MD 20817
August 6, 2024 (301) 320-5921

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